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      CORPORATION
 15
 16                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
 17
 18   PERSIAN GULF INC.,                     Case No. 3:15-cv-01749-TWR-AGS

 19              Plaintiff,                  Lead Case No. 3:18-cv-01374-TWR-
                                             AGS (consolidated with case no.
 20              v.                          3:18-cv-01377-TWR-AGS)

 21   BP WEST COAST PRODUCTS LLC, et         CLASS ACTION
      al.,
 22                                          DECLARATION OF DAWN
               Defendants.                   SESTITO IN SUPPORT OF
 23   RICHARD BARTLETT, et al.,              JOINT MOTION TO FILE
                                             DOCUMENTS UNDER SEAL
 24              Plaintiffs,                 Judge: Hon. Todd W. Robinson
 25              v.                          Courtroom: 3A

 26   BP WEST COAST PRODUCTS LLC, et
      al.,
 27
                 Defendants.
 28
                                           -1-
                                                                     SESTITO DECLARATION
                                                         Case Nos. 3:15-cv-01749; 3:18-cv-01374
Case 3:15-cv-01749-JO-AGS Document 723-1 Filed 07/16/21 PageID.34528 Page 2 of 28



  1         I, Dawn Sestito, hereby declare as follows:
  2         1.     I am an attorney admitted to practice in the courts of the State of California
  3   and this District Court. I am a partner with O’Melveny & Myers LLP and counsel for
  4   Defendants ExxonMobil Refining & Supply Company and Exxon Mobil Corporation
  5   (“ExxonMobil”) in this action. I make this declaration in support of the accompanying
  6   Joint Motion to File Documents Under Seal (“Joint Mot.”). I have personal knowledge
  7   of the facts set forth herein, and if sworn, I could and would competently testify to them.
  8         2.     Defendants request the Court to seal certain material in briefs and evidence
  9   filed pursuant to the March 16, 2021 Order Granting Joint Motion and Stipulation RE
 10   Protocols for Motions for Summary Judgement and Daubert Motions. See No. 15-cv-
 11   01749, Dkt. No. 589; No. 18-cv-01374, Dkt. No. 436.
 12         3.     Defendants’ sealing request is made pursuant to the April 5, 2021 Order
 13   Granting Joint Motion and Stipulation to Amend Sealing Procedures. See No. 15-cv-
 14   01749, Dkt. No. 638; No. 18-cv-01374, Dkt. No. 479.
 15         4.     As reflected in the below chart, the purpose of this Declaration is to
 16   (a) specifically identify and describe the documents or portions of documents that one
 17   or more Defendants request the Court to seal, and (b) identify the specific paragraphs
 18   from the fact declarations in support of Defendants’ Joint Motion for Summary
 19   Judgment, filed on April 2, 2021, including the Declaration of Don Smith in Support of
 20   Defendants’ Joint Motion to File Documents Under Seal (“Smith Decl.”), that establish
 21   the compelling reasons for protecting those documents or portions of documents from
 22   public disclosure.
 23         5.     Certain material that one or more Defendants request to be sealed is
 24   contained in documents marked as “Confidential - For Counsel Only” under the
 25   Protective order in this case, and therefore Defendants’ fact declarants are unable to
 26   review those documents. The substance of that material in the “Confidential - For
 27   Counsel Only” documents aligns with the type of material that certain fact declarants
 28
                                                 -2-
                                                                             SESTITO DECLARATION
                                                                 Case Nos. 3:15-cv-01749; 3:18-cv-01374
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  1   establish as confidential and proprietary to their employer, therefore satisfying the
  2   compelling-reasons standard.
  3         6.      The citations in the below chart corresponded with the following briefs and
  4   evidence, all of which contain information that one or more Defendants request the
  5   Court to seal:
  6              a. Defendants’ Opening Papers (filed April 2, 2021):
  7                     i. Citations to “Joint Memorandum in Support of Joint Motion for
  8                        Summary Judgment” refer to the Joint Memorandum of Defendants
  9                        Chevron U.S.A. Inc., Phillips 66, Equilon Enterprises LLC (d/b/a
 10                        Shell Oil Products US), and Valero Marking and Supply Company
 11                        in Support of Joint Motion for Summary Judgment, which was filed
 12                        under seal as Dkt. No. 629 in Case No. 15-cv-01749, and as Dkt.
 13                        No. 471 in Case No. 18-cv-01374.
 14                    ii. Citations to “J.A. __” refer to the Joint Appendix in Support of Joint
 15                        Memorandum of Defendants Chevron U.S.A. Inc., Phillips 66,
 16                        Equilon Enterprises LLC (d/b/a Shell Oil Products US), and Valero
 17                        Marketing and Supply Company in Support of Joint Motion for
 18                        Summary Judgment, which was filed under seal as Dkt. No. 629 in
 19                        Case No. 15-cv-01749, and as Dkt. No. 471 in Case No. 18-cv-
 20                        01374.
 21                    iii. Citations to “Liversidge SJ Ex. __” refer to the exhibits cited in and
 22                        attached to the Declaration of Samuel Liversidge in Support of the
 23                        Joint Notice of Motion and Motion for Summary Judgement of
 24                        Defendants Chevron U.S.A. Inc., Phillips 66, Equilon Enterprises
 25                        LLC (d/b/a Shell Oil Products US), and Valero Marketing and
 26                        Supply Company, which were filed under seal as Dkt. No. 629 in
 27                        Case No. 15-cv-01749, and as Dkt. No. 471 in Case No. 18-cv-
 28                        01374.
                                                  -3-
                                                                               SESTITO DECLARATION
                                                                   Case Nos. 3:15-cv-01749; 3:18-cv-01374
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  1                iv. Citations to “Exxon Joinder Br.” refer to Defendant ExxonMobil’s
  2                    Notice of Joinder and Supplemental Brief in Support of Defendants’
  3                    Joint Motion for Summary Judgment, which was filed under seal as
  4                    Dkt. No. 631 in Case No. 15-cv-01749, and as Dkt. No. 474 in Case
  5                    No. 18-cv-01374.
  6                 v. Citations to “BP’s Notice of Joinder and Memorandum in Support
  7                    of Joint Motion” refer to Defendant BP West Coast Products LLC’s
  8                    Notice of Joinder and Supplemental Memorandum in Support of
  9                    Defendants’ Joint Motion of Summary Judgment, which was filed
 10                    under seal as Dkt. No. 634 in Case No. 15-cv-01749, and as Dkt.
 11                    No. 477 in Case No. 18-cv-01374.
 12                vi. Citations to “Sacks Decl. Ex. __” refer to the exhibits cited in and
 13                    attached to the Declaration of Robert A. Sacks in Support of
 14                    Defendant BP West Coast Products LLC’s Notice of Joinder and
 15                    Supplemental Memorandum in Support of Defendants’ Joint
 16                    Motion of Summary Judgment, which were filed under seal as Dkt.
 17                    No. 634 in Case No. 15-cv-01749, and as Dkt. No. 477 in Case No.
 18                    18-cv-01374.
 19               vii. Citations to “T.A. __” refer to Tesoro Refining & Marketing
 20                    Company LLC’s Appendix in Support of its Motion for Summary
 21                    Judgment and Defendants’ Joint Motion for Summary Judgment,
 22                    which was filed under seal as Dkt. No. 621 in Case No. 15-cv-
 23                    01749, and as Dkt. No. 461 in Case No. 18-cv-01374.
 24           b. Plaintiffs’ Opening Papers (filed April 2, 2021):
 25                 i. Citations to “Plaintiffs’ Liability Daubert Br.” refer to the
 26                    Memorandum of Points and Authorities in Support of Plaintiffs’
 27                    Joint Motion to Exclude the Expert Testimony and Opinion of
 28                    Andrew Lipow, Dr. Janusz A. Ordover and Dr. Richard J. Bergin,
                                           -4-
                                                                          SESTITO DECLARATION
                                                              Case Nos. 3:15-cv-01749; 3:18-cv-01374
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  1                    which was filed under seal as Dkt. No. 624 in Case No. 15-cv-
  2                    01749, and as Dkt. No. 466 in Case No. 18-cv-01374.
  3                ii. Citations to “Bernay Liability Ex. __” refer to the exhibits cited in
  4                    and attached to the Declaration of Alexandra S. Bernay in Support
  5                    of Plaintiffs’ Joint Motion to Exclude the Expert Testimony and
  6                    Opinion of Andrew Lipow, Dr. Janusz A. Ordover and Dr. Richard
  7                    J. Bergin, which was filed under seal as Dkt. No. 624 in Case No.
  8                    15-cv-01749, and as Dkt. No. 466 in Case No. 18-cv-01374.
  9           c. Defendants’ Opposition Papers (filed May 28, 2021):
 10                 i. Citations to “Defendants’ Opp. to Liability Daubert” refer to
 11                    Defendants’ Joint Memorandum in Opposition to Plaintiffs’ Joint
 12                    Motion to Exclude Expert Testimony of Andrew Lipow, Dr. Janusz
 13                    A. Ordover and Dr. Richard J. Bergin, which was filed under seal as
 14                    Dkt. No. 690 in Case No. 15-cv-01749, and as Dkt. No. 524 in Case
 15                    No. 18-cv-01374.
 16                ii. Citations to “Lichtman Opp. Ex. __” refer to the exhibits cited in
 17                    and attached to the Declaration of Joshua D. Lichtman in Support of
 18                    Defendants’ Joint Opposition to Plaintiffs’ Motion to Exclude
 19                    Expert testimony of Andrew Lipow, Dr. Janusz A. Ordover, and Dr.
 20                    Richard J. Bergin, which was filed under seal as Dkt. No. 690 in
 21                    Case No. 15-cv-01749, and as Dkt. No. 524 in Case No. 18-cv-
 22                    01374.
 23           d. Plaintiffs’ Opposition Papers (filed May 28, 2021):
 24                 i. Citations to “Plaintiffs’ SJ Opp.” refer to Plaintiffs’ Memorandum
 25                    of Points and Authorities in Opposition to Joint Motion for
 26                    Summary Judgment of Defendants Chevron U.S.A Inc., Phillips 66,
 27                    Equilon Enterprises LLC (D/B/A Shell Oil Products US), and
 28                    Valero Marketing and Supply Co., which was filed under seal as
                                           -5-
                                                                         SESTITO DECLARATION
                                                             Case Nos. 3:15-cv-01749; 3:18-cv-01374
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  1                    Dkt. No. 699 in Case No. 15-cv-01749, and as Dkt. No. 533 in Case
  2                    No. 18-cv-01374.
  3                ii. Citations to “Bernay SJ Opp. Ex. __” refer to the exhibits cited in
  4                    and attached to the Declaration of Alexandra S. Bernay in Support
  5                    of Plaintiffs’ Memorandum of Points and Authorities in Opposition
  6                    to Joint Motion for Summary Judgment of Defendants Chevron
  7                    U.S.A. Inc., Phillips 66, Equilon Enterprises LLC (D/B/A Shell Oil
  8                    Products US), and Valero Marketing and Supply Co., which was
  9                    filed under seal as Dkt. No. 699 in Case No. 15-cv-01749, and as
 10                    Dkt. No. 533 in Case No. 18-cv-01374.
 11                iii. Citations to “Plaintiffs’ Objection Appx.” refer to Appendix 1 –
 12                    Plaintiffs’ Evidentiary Objections, which was filed under seal as
 13                    Dkt. No. 699 in Case No. 15-cv-01749, and as Dkt. No. 533 in Case
 14                    No. 18-cv-01374.
 15                iv. Citations to “Plaintiffs’ Opp. to BP’s Joinder” refers to Plaintiffs’
 16                    Memorandum of Points and Authorities in Opposition to Defendant
 17                    BP West Coast Products LLC’s Supplemental Memorandum in
 18                    Support of Defendants’ Joint Motion for Summary Judgment, which
 19                    was filed under seal as Dkt. No. 695 in Case No. 15-cv-01749, and
 20                    as Dkt. No. 529 in Case No. 18-cv-01374.
 21                 v. Citations to “Nicoud BP Opp. Ex. __” refer to the exhibits cited in
 22                    and attached to the Declaration of Michael Nicoud in Support of
 23                    Plaintiffs’ Memorandum of Points and Authorities in Opposition to
 24                    Defendant BP West Coast Products LLC’s Supplemental
 25                    Memorandum in Support of Defendants’ Joint Motion for Summary
 26                    Judgment, which was filed under seal as Dkt. No. 695 in Case No.
 27                    15-cv-01749, and as Dkt. No. 529 in Case No. 18-cv-01374.
 28
                                              -6-
                                                                         SESTITO DECLARATION
                                                             Case Nos. 3:15-cv-01749; 3:18-cv-01374
Case 3:15-cv-01749-JO-AGS Document 723-1 Filed 07/16/21 PageID.34533 Page 7 of 28



  1                vi. Citations to “Nicoud Exxon Opp. Ex. __” refer to the exhibits cited
  2                    in and attached to the Declaration of Michael Nicoud in Support of
  3                    Plaintiffs’ Memorandum of Points and Authorities in Opposition to
  4                    Defendant ExxonMobil’s Supplemental Brief in Support of
  5                    Defendant’ Joint Motion for Summary Judgment, which was filed
  6                    under seal as Dkt. No. 696 in Case No. 15-cv-01749, and as Dkt.
  7                    No. 530 in Case No. 18-cv-01374.
  8               vii. Citations to “Nicoud Tesoro Opp. Ex. __” refer to the exhibits cited
  9                    in and attached to the Declaration of Michael Nicoud in Support of
 10                    Plaintiffs’ Memorandum of Points and Authorities in Opposition to
 11                    Defendant Tesoro Refining & Marketing Company LLC’s Motion
 12                    for Summary Judgment, which was filed under seal as Dkt. No. 697
 13                    in Case No. 15-cv-01749, and as Dkt. No. 531 in Case No. 18-cv-
 14                    01374.
 15               viii. Citations to “Coughlin Alon Opp. Ex. __” refer to the exhibits cited
 16                    in and attached to the Declaration of Patrick J. Coughlin in Support
 17                    of Plaintiffs’ Memorandum of Points and Authorities in Opposition
 18                    to Defendant Alon USA Energy, Inc.’s Motion for Summary
 19                    Judgment, which was filed under seal as Dkt. No. 689 in Case No.
 20                    15-cv-01749, and as Dkt. No. 523 in Case No. 18-cv-01374.
 21           e. Defendants’ Reply Papers (filed July 2, 2021):
 22                 i. Citations to “Exxon Reply” refer to Defendant ExxonMobil’s
 23                    Notice of Joinder and Supplemental Reply in Support of
 24                    Defendants’ Joint Motion for Summary Judgment, which was filed
 25                    under seal as Dkt. No. 721 in Case No. 15-cv-01749, and as Dkt.
 26                    No. 556 in Case No. 18-cv-01374.
 27                ii. Citations to “BP Reply” refer to Defendant BP West Coast Products
 28                    LLC’s Notice of Joinder and Supplemental Reply in Support of
                                           -7-
                                                                         SESTITO DECLARATION
                                                             Case Nos. 3:15-cv-01749; 3:18-cv-01374
Case 3:15-cv-01749-JO-AGS Document 723-1 Filed 07/16/21 PageID.34534 Page 8 of 28



  1                    Defendants’ Joint Motion of Summary Judgment, which was filed
  2                    under seal as Dkt. No. 717 in Case No. 15-cv-01749, and as Dkt.
  3                    No. 552 in Case No. 18-cv-01374.
  4                iii. Citations to “Leneck Decl. Ex. __” refer to the exhibits cited in and
  5                    attached to the Declaration of Danielle R. Leneck in Support of
  6                    Defendant Tesoro Refining & Marketing Company LLC’s Reply
  7                    Memorandum to its Motion for Summary Judgment, which was
  8                    filed under seal as Dkt. No. 713 in Case No. 15-cv-01749, and as
  9                    Dkt. No. 547 in Case No. 18-cv-01374
 10
 11     Document        Portion Sought to Be       Basis for Sealing           Compelling
                                Sealed                                          Reason
 12
                              ExxonMobil’s Confidential Material
 13   Liversidge SJ Deposition transcript         Proprietary              J.A. 336–37
 14   Ex. 34 (Hart   page 321, line 4             Financial                (Dickson Decl.)
      Depo. Excerpt)                              Information (see         ¶¶ 74–76
 15                                               Joint Mot. at 8–9)
 16   Liversidge SJ Entire document, which Proprietary                     J.A. 336–37
      Ex. 35 (Hart   is titled “Torrance          Financial                (Dickson Decl.)
 17   Depo Ex. 322) Refinery - March 2016         Information (see         ¶¶ 74–76
 18                  Performance Report”          Joint Mot. at 8–9)
      J.A. 319–72    Declaration paragraphs: Proprietary                   J.A. 336–37
 19   (Dickson       6 (refinery operations);     Business                 (Dickson Decl.)
 20   Decl.)         11, second sentence          Information and          ¶¶ 74–76
                     (inventory management); Proprietary Pricing
 21                  12, second sentence          Information (see
 22                  (refinery operations); 14, Joint Mot. at 6–8)
                     second sentence
 23                  (refinery operations); 16
 24                  portions of first and
                     second sentence
 25                  (refinery operations); 17
 26                  (refinery operations);
                     18–20 (refinery
 27                  operations and
 28                  planning); 21 (refinery
                                              -8-
                                                                          SESTITO DECLARATION
                                                              Case Nos. 3:15-cv-01749; 3:18-cv-01374
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  1     Document         Portion Sought to Be     Basis for Sealing          Compelling
                                 Sealed                                       Reason
  2
                      operations); 25, fifth
  3                   sentence (customer
  4                   relationship); 27–30
                      (pricing formulas and
  5                   customer relationship);
  6                   70, first sentence, last
                      two words (customer
  7                   relationship); and 70,
  8                   second sentence (pricing
                      strategy)
  9   J.A. 372        Chart of proprietary     Proprietary               J.A. 336–37
 10   (EM_PG Ex.      financial information    Financial                 (Dickson Decl.)
      6)                                       Information (see          ¶¶ 74–76
 11                                            Joint Mot. at 8–9)
 12   J.A. 399        Five customer names on Proprietary                 J.A. 336–37
      (EM_PG Ex.      EM_PG000060276           Business                  (Dickson Decl.)
 13   10)                                      Information and           ¶¶ 74–76
 14                                            Proprietary Pricing
                                               Information (see
 15                                            Joint Mot. at 6–8)
 16   J.A. 407        Four customer names      Proprietary               J.A. 336–37
      (EM_PG Ex.      and description of       Business                  (Dickson Decl.)
 17   12)             customer relationship on Information and           ¶¶ 74–76
 18                   EM_PG000192597           Proprietary Pricing
                                               Information (see
 19                                            Joint Mot. at 6–8)
 20   J.A. 411        Four customer names on Proprietary                 J.A. 336–37
      (EM_PG Ex.      EM_PG000195537           Business                  (Dickson Decl.)
 21   13)                                      Information and           ¶¶ 74–76
 22                                            Proprietary Pricing
                                               Information (see
 23                                            Joint Mot. at 6–8)
 24   Exxon Joinder   Page 7, fn. 6, second    Proprietary               J.A. 336–37
      Br.             sentence. Description of Contract Term (see        (Dickson Decl.)
 25
                      contractual term with    Joint Mot. at 5–6)        ¶¶ 74–76
 26                   non-defendant third-
                      party
 27
 28
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                                                                        SESTITO DECLARATION
                                                            Case Nos. 3:15-cv-01749; 3:18-cv-01374
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   1     Document          Portion Sought to Be         Basis for Sealing         Compelling
                                   Sealed                                            Reason
   2
       Liversidge SJ     Page 206, lines 15–25         Proprietary Pricing     J.A. 336–37
   3   Ex. 13            (pricing strategy)            Information (see        (Dickson Decl.)
   4   (McCullough’s                                   Joint Mot. at 6–7)      ¶¶ 74–76
       Depo Tr. from
   5   2/26/21)
   6   Bernay            Page 154, fourth bullet       Proprietary             J.A. 336–37
       Liability Ex. 3   point (customer               Business                (Dickson Decl.)
   7   (Ordover          relationships); page 154,     Information and         ¶¶ 74–76
   8   report)           fn. 45, parenthetical         Proprietary Pricing
                         (customer relationships);     Information (see
   9                     page 155, third row of        Joint Mot. at 6–8)
 10                      chart with ExxonMobil
                         data (refinery and supply
 11                      operations); page 212,
 12                      fns. 389 and 391 (client
                         names); page 219, fn.
 13                      426 listed supplier name
 14                      (supply operations);
                         page 227, fn. 456, six
 15                      references to supplier
 16                      name (supply
                         operations); page 255,
 17                      fn. 601, five refences to
 18                      customers (client names)
       Plaintiffs’ SJ    Page 50, line 17 (client      Proprietary             J.A. 336–37
 19    Opp.              name)                         Business                (Dickson Decl.)
 20                                                    Information and         ¶¶ 74–76
                                                       Proprietary Pricing
 21                                                    Information (see
 22                                                    Joint Mot. at 6–8)
       Bernay SJ         Client names on               Proprietary             J.A. 336–37
 23    Opp. Ex. 63       EM_PG000023087                Business                (Dickson Decl.)
 24                                                    Information and         ¶¶ 74–76
                                                       Proprietary Pricing
 25                                                    Information (see
 26                                                    Joint Mot. at 6–8)
       Nicoud Exxon      Page 32, ¶ 19 (text and       Proprietary             J.A. 336–37
 27    Opp. Ex. 9        chart with pricing            Business                (Dickson Decl.)
 28                      information)                  Information and         ¶¶ 74–76
                                                -10-
                                                                              SESTITO DECLARATION
                                                                  Case Nos. 3:15-cv-01749; 3:18-cv-01374
Case 3:15-cv-01749-JO-AGS Document 723-1 Filed 07/16/21 PageID.34537 Page 11 of 28



   1     Document          Portion Sought to Be         Basis for Sealing          Compelling
                                  Sealed                                            Reason
   2
                                                       Proprietary Pricing
   3                                                   Information (see
   4                                                   Joint Mot. at 6–8)
       Nicoud Tesoro Page 11, ¶ 45, fn. 21,            Proprietary             J.A. 336–37
   5   Opp. Ex. 4    entire chart (customer            Business                (Dickson Decl.)
   6                 names and pricing                 Information and         ¶¶ 74–76
                     information)                      Proprietary Pricing
   7                                                   Information (see
   8                                                   Joint Mot. at 6–8)
       Coughlin Alon Page 120, first line of           Proprietary             J.A. 336–37
   9   Opp. Ex. 23   first bullet point;               Business                (Dickson Decl.)
 10                  (customer information             Information and         ¶¶ 74–76
                     and supply operations);           Proprietary Pricing
 11                  page 121, third bullet            Information (see
 12                  point, third and fourth           Joint Mot. at 6–8)
                     lines (customer
 13                  information and supply
 14                  operations)
       Exxon Reply   Page 5, lines 4–5               Proprietary               J.A. 336–37
 15                  (pricing information)           Business                  (Dickson Decl.)
 16                                                  Information and           ¶¶ 74–76
                                                     Proprietary Pricing
 17                                                  Information (see
 18                                                  Joint Mot. at 6–8)
                                     Shell’s Confidential Material
 19    J.A. 100–46       Declaration paragraphs 6 Proprietary Pricing          Smith Decl. ¶¶ 2-
 20    (Harris Decl.)    (pricing strategy), 8-13    Information and           4
                         (output production), 15     Proprietary
 21                      (refinery operations and Business Records
 22                      planning), 17-19            (see Joint Mot. at
                         (inventory management), 6–8)
 23                      and 23 (customer
 24                      relationships/names)
       J.A. 111–38       Entire document, which Proprietary Pricing            Smith Decl. ¶¶ 2-
 25
       (Ex. Shell 1 to   is titled “NA Pricing &     Information (see          4
 26    the Harris        Demand Management”          Joint Mot. at 6–7)
       Decl.)
 27
 28
                                                -11-
                                                                              SESTITO DECLARATION
                                                                  Case Nos. 3:15-cv-01749; 3:18-cv-01374
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   1     Document        Portion Sought to Be         Basis for Sealing        Compelling
                                 Sealed                                           Reason
   2
       J.A. 140–42     Entire document, bates        Proprietary Pricing     Smith Decl. ¶¶ 2-
   3   (Ex. Shell 2 to stamped                       Information (see        4
   4   the Harris      SOPUS_PGI_00007943-           Joint Mot. at 6–7)
       Decl.)          945
   5   J.A. 147–55     Declaration paragraphs        Proprietary Pricing     Smith Decl. ¶¶ 2-
   6   (Smith SJ       3, 5, 6, 10, 12, 13           Information (see        4
       Decl.)          (pricing strategy)            Joint Mot. at 6–7)
   7   J.A. 156–89     Declaration paragraphs 4      Proprietary Pricing     Smith Decl. ¶¶ 2-
   8   (Marino Decl.) (pricing strategy)             Information (see        4
                                                     Joint Mot. at 6–7)
   9   J.A. 190–94     Declaration paragraph 4       Proprietary Pricing     Smith Decl. ¶¶ 2-
 10    (Kavalinas      (pricing strategy)            Information (see        4
       Decl.)                                        Joint Mot. at 6–7)
 11    J.A. 195–230    Declaration paragraph 4       Proprietary Pricing     Smith Decl. ¶¶ 2-
 12    (Rodrick        (pricing strategy)            Information (see        4
       Decl.)                                        Joint Mot. at 6–7)
 13    Liversidge SJ   Page 207, lines 4–10          Proprietary Pricing     Smith Decl. ¶¶ 2-
 14    Ex. 13          (pricing strategy)            Information (see        4
       (McCullough’s                                 Joint Mot. at 6–7)
 15    Depo Tr. from
 16    2/26/21)
       Bernay SJ       Entire document, bates     Proprietary Pricing        Smith Decl. ¶¶ 2-
 17    Opp. Ex. 87     stamped SOPUS_PGI_         Information (see           4
 18                    000006746                  Joint Mot. at 6–7)
       Bernay SJ       Entire document, bates     Proprietary Pricing        Smith Decl. ¶¶ 2-
 19
       Opp. Ex. 88     stamped SOPUS_ PGI_ Information (see                  4
 20                    00223178-182               Joint Mot. at 6–7)
                               Phillip 66’s Confidential Material
 21
       J.A. 412–63     Declaration paragraph      Proprietary                J.A. 508 (Sharum
 22    (Weinberg-      15 at page 7, lines 11-12 Business Records            Decl.) ¶ 34(c);
       Lynn Decl.)     (storage capacity and      (see Joint Mot. at         J.A. 413
 23
                       inventory plans)           7–8)                       (Weinberg-Lynn
 24                                                                          Decl.) ¶ 1
 25
       J.A. 464 –91    Declaration paragraph         Proprietary             J.A. 507 (Sharum
 26    (Bodziak        10 at page 5, line 2 (one     Business Records        Decl.) ¶ 34(a);
 27    Decl.)          customer name)                and Proprietary         J.A. 465 (Bodziak
                                                     Pricing Information     Decl.) ¶ 1
 28
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                               Sealed                                           Reason
   2
                                                  (see Joint Mot. at
   3                                              6–8)
   4
       J.A. 476–77    One customer name and       Proprietary              J.A. 507 (Sharum
   5   (PSX-7)        monthly delivery            Contract Terms,          Decl.) ¶ 34(a);
   6                  amounts on                  Proprietary              J.A. 465 (Bodziak
                      PSXPGI00023805              Business Records,        Decl.) ¶ 1
   7                                              and Proprietary
   8                                              Pricing Information
                                                  (see Joint Mot. at
   9                                              5–8)
 10
       J.A. 610–48    Entire documents, which Proprietary                  J.A. 507 (Sharum
 11    (PSX-23) and   are both titled “Branded Contract Terms,             Decl.) ¶ 34(b);
 12    650–88 (PSX-   Reseller Agreement”      Proprietary                 J.A. 595
       24)                                     Business Records,           (Hodgson Decl.)
 13                                            and Proprietary             ¶1
 14                                            Pricing Information
                                               (see Joint Mot. at
 15                                            5–8)
 16
       J.A. 594–688  Declaration paragraphs       Proprietary              J.A. 508 (Sharum
 17    (Hodgson      8, 12-15, 19-21, 23-24,      Business Records,        Decl.) ¶ 34(d)-(f);
 18    Decl.)        and 27-28 (pricing           Proprietary Pricing      J.A. 595
                     strategies and price-        Information (see         (Hodgson Decl.)
 19                  setting processes and        Joint Mot. at 6–8)       ¶1
 20                  procedures); 22 (sales);
                     and 26 (sales)
 21    Liversidge SJ Page 204, line 24            Proprietary Pricing      J.A. 508 (Sharum
 22    Ex. 13        through page 206, line 1     Information (see         Decl.) ¶ 34(d)-(f);
       (McCullough’s (pricing strategy)           Joint Mot. at 6–7)       J.A. 595
 23    Depo Tr. from                                                       (Hodgson Decl.)
 24    2/26/21)                                                            ¶1
       Bernay SJ     Entire document, bates       Proprietary              J.A. 508 (Sharum
 25
       Opp. Ex. 13   stamped                      Business                 Decl.) ¶ 34(d)-(e)
 26                  PSXPGI00460392-403           Information
                                                  (see Joint Mot. at
 27
                                                  7–8)
 28
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   1     Document       Portion Sought to Be     Basis for Sealing         Compelling
                               Sealed                                         Reason
   2
       Bernay SJ      Entire document, bates     Proprietary            J.A. 508 (Sharum
   3   Opp. Ex. 15    stamped                    Business               Decl.) ¶ 34(d)-(e)
   4                  PSXPGI00460327-330         Information
                                                 (see Joint Mot. at
   5                                             7–8)
   6   Bernay SJ      Entire document, bates     Proprietary            J.A. 508 (Sharum
       Opp. Ex. 51    stamped                    Business               Decl.) ¶ 34(d)-(e)
   7                  PSXPGI00460654-665         Information
   8                                             (see Joint Mot. at
                                                 7–8)
   9   Bernay SJ      Entire document, bates     Proprietary            J.A. 508 (Sharum
 10    Opp. Ex. 70    stamped                    Business               Decl.) ¶ 34(c)
                      PSXPGI00144115-179         Information and
 11                                              Proprietary
 12                                              Business Records
                                                 (see Joint Mot. at
 13                                              7–8)
 14    Bernay SJ      Entire document, bates     Proprietary            J.A. 508 (Sharum
       Opp. Ex. 105   stamped                    Business Records       Decl.) ¶ 34(a)
 15                   PSXPGI00460153             (see Joint Mot. at
 16                                              7–8)
       Bernay SJ      Portions of document       Proprietary            J.A. 508 (Sharum
 17    Opp. Ex. 121   titled, “Product           Contract Terms and     Decl.) ¶ 34(a)-(b)
 18                   Exchange Agreement” at Pricing Information
                      PSXPGI00460615             (see Joint Mot. at
 19                   (differential pricing      5–7)
 20                   terms information)
       Bernay SJ      Portions of document       Proprietary            J.A. 508 (Sharum
 21    Opp. Ex. 122   titled, “Product           Contract Terms and     Decl.) ¶ 34(a)-(b)
 22                   Exchange Agreement” at Pricing Information
                      PSXPGI00460629             (see Joint Mot. at
 23                   (differential pricing      5–7)
 24                   terms information)
       Bernay SJ      Portions of document       Proprietary            J.A. 508 (Sharum
 25
       Opp. Ex. 123   titled, “Product           Contract Terms and     Decl.) ¶ 34(a)-(b)
 26                   Exchange Agreement” at Pricing Information
                      PSXPGI00460643-645         (see Joint Mot. at
 27
                      (differential pricing      5–7)
 28                   terms information)
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   1     Document          Portion Sought to Be      Basis for Sealing     Compelling
                                   Sealed                                     Reason
   2
       Bernay SJ        Portions of document        Proprietary         J.A. 508 (Sharum
   3   Opp. Ex. 125     titled, “Product            Contract Terms and Decl.) ¶ 34(a)-(b)
   4                    Exchange Agreement” at      Pricing Information
                        PSXPGI01132959-960          (see Joint Mot. at
   5                    (differential pricing       5–7)
   6                    terms information)
       Bernay SJ        Portions of exchange        Proprietary         J.A. 508 (Sharum
   7   Opp. Ex. 128     agreement involving         Contract Terms and Decl.) ¶ 34(a)-(b)
   8                    ConocoPhillips              Pricing Information
                        Company and                 (see Joint Mot. at
   9                    ExxonMobil Oil              5–7)
 10                     Corporation at
                        EM_PG000222595-598
 11                     (differential pricing
 12                     terms information)
       Bernay SJ        Entire document, bates      Proprietary             J.A. 508 (Sharum
 13    Opp. Ex. 151     stamped                     Business                Decl.) ¶ 34(c)
 14                     PSXPGI00087271-292          Information
                                                    (see Joint Mot. at
 15                                                 7–8)
 16    Bernay SJ        Entire document, bates      Proprietary             J.A. 508 (Sharum
       Opp. Ex. 168     stamped                     Business                Decl.) ¶ 34(a) and
 17                     PSXPGI00080448              Information and         (c)
 18                                                 Proprietary
                                                    Business Records
 19                                                 (see Joint Mot. at
 20                                                 7–8)
       Bernay SJ        Entire document, bates      Proprietary             J.A. 508 (Sharum
 21    Opp. Ex. 173     stamped                     Business                Decl.) ¶ 34(d)-(e)
 22                     PSXPGI00460242-269          Information
                                                    (see Joint Mot. at
 23                                                 7–8)
 24    Plaintiffs’ SJ   Page 19, lines 24-27        Proprietary             J.A. 508 (Sharum
       Opp.             (quote from Ex. 51,         Business                Decl.) ¶ 34(d)-(e)
 25
                        document, which is          Information
 26                     titled, “Communications     (see Joint Mot. at
                        Work Guidelines”)           7–8)
 27
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   1     Document       Portion Sought to Be     Basis for Sealing          Compelling
                                Sealed                                       Reason
   2
                               Chevron’s Confidential Material
   3   J.A. 7–33      Entire declaration of    Proprietary              J.A. 8 (Yates
   4   (Yates Decl.)  Chris Yates              Business Records         Decl.) ¶¶ 2-3
                                               and Proprietary
   5                                           Financial
   6                                           Information (see
                                               Joint Mot. at 7–9)
   7   J.A. 30–32     Entire document with     Proprietary              J.A. 8, 18 (Yates
   8   (Ex. CUSA-3) bates number               Business Records         Decl.) ¶¶ 2-3, 41
                      CUSA_PG-BAR-             and Proprietary
   9                  000170409                Financial
 10                                            Information (see
                                               Joint Mot. at 7–9)
 11    J.A. 34–81     Declaration paragraphs   Proprietary              J.A. 8 (Yates
 12    (Roveda Decl.) 10 (internal export      Business Records         Decl.) ¶¶ 2-3
                      production numbers), 11 (see Joint Mot. at
 13                   (refinery production     7–8)
 14                   numbers)
       J.A. 43–44     Entire document with     Proprietary              J.A. 37 (Roveda
 15    (Ex. CUSA-4) bates number               Business Records         Decl.) ¶ 7
 16                   CUSA_PG-BAR-             (see Joint Mot. at
                      000061402                7–8)
 17    J.A. 46–51     Entire document with     Proprietary              J.A. 38 (Roveda
 18    (Ex. CUSA-5) bates number               Business Records         Decl.) ¶ 10
                      CUSA_PG-BAR-             (see Joint Mot. at
 19                   000071555                7–8)
 20    J.A. 53–54     Entire document with     Proprietary              J.A. 38 (Roveda
       (Ex. CUSA-6) bates number               Business Records         Decl.) ¶ 10
 21                   CUSA_PG-BAR-             (see Joint Mot. at
 22                   000063911                7–8)
       J.A. 56–67     Entire document with     Proprietary              J.A. 39 (Roveda
 23
       (Ex. CUSA-7) bates number               Business Records         Decl.) ¶ 11
 24                   CUSA_PG-BAR-             (see Joint Mot. at
                      000124105                7–8)
 25
       J.A. 69–81     Entire document with     Proprietary              J.A. 39 (Roveda
 26    (Ex. CUSA-8) bates number               Business Records         Decl.) ¶ 11
                      CUSA_PG-BAR-             (see Joint Mot. at
 27
                      000730670                7–8)
 28
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   1     Document       Portion Sought to Be       Basis for Sealing         Compelling
                               Sealed                                           Reason
   2
       Bernay SJ      Redacted portions of        Proprietary             J.A. 8 (Yates
   3   Opp. Ex. 16    document with bates         Business Records        Decl.) ¶¶ 2-3
   4                  number CUSA_PG-             (see Joint Mot. at
                      BAR-001074251               7–8)
   5   Bernay SJ      Redacted portions of        Proprietary             J.A. 8 (Yates
   6   Opp. Ex. 20    document with bates         Business Records        Decl.) ¶¶ 2-3
                      number CUSA_PG-             (see Joint Mot. at
   7                  BAR-000902404               7–8)
   8   Bernay SJ      Entire document with        Proprietary             J.A. 8 (Yates
       Opp. Ex. 40    bates number                Business Records        Decl.) ¶¶ 2-3
   9                  CUSA_PG-BAR-                (see Joint Mot. at
 10                   000008448                   7–8)
       Bernay SJ      Redacted portions of        Proprietary             J.A. 8 (Yates
 11    Opp. Ex. 69    document with bates         Business Records        Decl.) ¶¶ 2-3
 12                   number CUSA_PG-             (see Joint Mot. at
                      BAR-001106334               7–8)
 13    Bernay SJ      Entire document with        Proprietary             J.A. 8 (Yates
 14    Opp. Ex. 71    bates number                Business Records        Decl.) ¶¶ 2-3
                      CUSA_PG-BAR-                (see Joint Mot. at
 15                   000244774                   7–8)
 16    Bernay SJ      Entire document with        Proprietary             J.A. 8 (Yates
       Opp. Ex. 85    bates number                Business Records        Decl.) ¶¶ 2-3
 17                   CUSA_PG-BAR-                (see Joint Mot. at
 18                   000261488                   7–8)
       Bernay SJ      Entire document with        Proprietary             J.A. 8 (Yates
 19    Opp. Ex. 100   bates number                Business Records        Decl.) ¶¶ 2-3
 20                   CUSA_PG-BAR-                (see Joint Mot. at
                      000074774                   7–8)
 21
       Bernay SJ      Entire document with        Proprietary             J.A. 8 (Yates
 22    Opp. Ex. 117   bates number                Business Records        Decl.) ¶¶ 2-3
                      CUSA_PG-BAR-                (see Joint Mot. at
 23
                      000702905                   7–8)
 24    Bernay SJ      Entire document with        Proprietary             J.A. 8 (Yates
       Opp. Ex. 120   bates number                Business Records        Decl.) ¶¶ 2-3
 25
                      CUSA_PG-BAR-                (see Joint Mot. at
 26                   001077348                   7–8)
 27    Bernay SJ      Redacted portions of        Proprietary             J.A. 8 (Yates
       Opp. Ex. 139   document with bates         Business Records        Decl.) ¶¶ 2-3
 28
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   1     Document        Portion Sought to Be       Basis for Sealing          Compelling
                                 Sealed                                         Reason
   2
                       number                      (see Joint Mot. at
   3                   SOPUS_PGI_00546445          7–8)
   4   Bernay SJ       Entire document with        Proprietary             J.A. 8 (Yates
       Opp. Ex. 178    bates number                Business Records        Decl.) ¶¶ 2-3
   5                   CUSA_PG-BAR-                (see Joint Mot. at
   6                   000955153                   7–8)
       Bernay SJ       Redacted portion of         Proprietary             J.A. 8 (Yates
   7   Opp. Ex. 185    document with bates         Business Records        Decl.) ¶¶ 2-3
   8                   number                      (see Joint Mot. at
                       CUSA_PG-BAR-                7–8)
   9                   000008309
 10    Bernay SJ       Redacted portion of         Proprietary             J.A. 8 (Yates
       Opp. Ex. 187    document with bates         Business Records        Decl.) ¶¶ 2-3
 11                    number                      (see Joint Mot. at
 12                    CUSA_PG-BAR-                7–8)
                       000079927
 13    Bernay SJ       Entire document with      Proprietary               J.A. 8 (Yates
 14    Opp. Ex. 196    bates number              Business Records          Decl.) ¶¶ 2-3
                       CUSA_PG-BAR-              (see Joint Mot. at
 15                    000068726                 7–8)
 16    Plaintiffs’ SJ  Page 32, lines 15-18      Proprietary               J.A. 8 (Yates
       Opp.            (quote from J.A. 30)      Business Records          Decl.) ¶¶ 2-3
 17                                              (see Joint Mot. at
 18                                              7–8)
                                   BP’s Confidential Material
 19
       Joint          Page 3, lines 9-10         Proprietary               J.A. 830
 20    Memorandum (import volume), page          Business                  (Archambault
       in Support of  31, lines 10-11 (import    Information (see          Decl.) ¶ 2
 21
       Joint Motion   volume), page 42, lines    Joint Mot. at 7–8)
 22    for Summary    24-25 (refinery
       Judgment       production volume)
 23
       BP’s Notice of Page 4, lines 14-18        Proprietary               J.A. 830
 24    Joinder and    (pricing formulas and      Business                  (Archambault
       Memorandum strategy), page 9, lines 3- Information and              Decl.) ¶ 2
 25
       in Support of  4, 8 (refinery operations Proprietary Pricing
 26    Joint Motion   and planning)              Information (see
                                                 Joint Mot. at 6–8)
 27
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   1     Document       Portion Sought to Be          Basis for Sealing         Compelling
                               Sealed                                              Reason
   2
       Sacks Decl.    Entire document                Proprietary             J.A. 830
   3   Ex. B                                         Business                (Archambault
   4                                                 Information and         Decl.) ¶ 2
                                                     Proprietary Pricing
   5                                                 Information (see
   6                                                 Joint Mot. at 6–8)
       J.A. 828–56    Declaration paragraph          Proprietary             J.A. 830
   7   (Archambault   14 (ongoing agreement),        Contract Terms,         (Archambault
   8   Decl.)         paragraph 20 (refinery         Proprietary             Decl.) ¶ 2
                      production), paragraph         Business
   9                  21 (customer supply,           Information, and
 10                   ongoing agreement),            Proprietary Pricing
                      paragraph 29 (ongoing          Information (see
 11                   agreement), paragraph          Joint Mot. at 5–8)
 12                   35 (import volume),
                      paragraph 38 (refinery
 13                   production and import
 14                   volume), paragraphs 39-
                      40 (import volume and
 15                   strategy), paragraph 51
 16                   (cost of refinery repairs),
                      paragraphs 58-61
 17                   (pricing), paragraphs 66-
 18                   68 (ongoing agreement)

 19
 20
       J.A. 858–72    Entire document                Proprietary             J.A. 830
 21    (Ex. BPWCP-                                   Contract Terms and      (Archambault
 22    1 to                                          Proprietary             Decl.) ¶ 2
       Archambault                                   Business and
 23    Decl.)                                        Financial
 24                                                  Information (see
                                                     Joint Mot. at 5–9)
 25    J.A. 900–13    Declaration paragraphs         Proprietary             J.A. 830
 26    (Henderlite    30-32 (import volume           Business                (Archambault
       Decl.)         and strategy)                  Information (see        Decl.) ¶ 2
 27                                                  Joint Mot. at 7–8)
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   1     Document          Portion Sought to Be      Basis for Sealing   Compelling
                                  Sealed                                    Reason
   2
       Plaintiffs’       Page 20, lines 12-15      Proprietary        J.A. 830
   3   Liability         (ongoing agreement,       Contract Terms and (Archambault
   4   Daubert Br.       customer supply)          Proprietary        Decl.) ¶ 2
                                                   Business
   5                                               Information (see
   6                                               Joint Mot. at 5–8)
       Bernay          Page 155, Figure 3,         Proprietary        J.A. 830
   7   Liability Ex. 3 (customer supply), page     Business           (Archambault
   8   (Ordover        219, footnote 423           Information (see   Decl.) ¶ 2
       report)         (import volume), page       Joint Mot. at 7–8)
   9                   233, footnote 480
 10                    (import volume), pages
                       238-239, paragraph 223
 11                    (import volume and
 12                    strategy)
       Bernay          Paragraph 15                 Proprietary             J.A. 830
 13    Liability Ex. 5 (production and import       Contract Terms,         (Archambault
 14    (Bergin report) strategy), paragraph 16      Proprietary             Decl.) ¶ 2
                       (ongoing agreement),         Business
 15                    paragraph 23 (shipping       Information, and
 16                    costs), page 389, figure 6 Proprietary
                       (shipping costs),            Financial
 17                    paragraph 24                 Information (see
 18                    (production planning),       Joint Mot. at 5–9)
                       paragraph 28 (refinery
 19                    storage capacity), page
 20                    391, footnote 33
                       (refinery storage
 21                    capacity), page 392,
 22                    figure 7 (refinery storage
                       capacity and cost),
 23                    paragraph 29 (shipping
 24                    costs), page 393, figure 8
                       (shipping costs), page
 25                    395, heading “C”
 26                    (refinery planning,
                       import strategy),
 27                    paragraph 34 (refinery
 28                    planning, import
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   1     Document           Portion Sought to Be        Basis for Sealing          Compelling
                                   Sealed                                           Reason
   2
                         strategy), paragraph 35
   3                     (shipping and
   4                     manufacturing costs),
                         page 396, figure 9
   5                     (manufacturing costs),
   6                     paragraph 37 (shipping
                         and manufacturing
   7                     costs), paragraph 38
   8                     (refinery planning,
                         import strategy), page
   9                     398, figure 10 (shipping
 10                      and manufacturing
                         costs),paragraph 42
 11                      (ongoing agreement,
 12                      customer supply),
                         paragraphs 43-44
 13                      (ongoing agreement,
 14                      customer supply), page
                         399, footnote 58
 15                      (ongoing agreement),
 16                      paragraph 46 (ongoing
                         agreement, import
 17                      strategy)
 18    Bernay            Page 421, line 1              Proprietary             J.A. 830
       Liability Ex. 6   (ongoing agreement),          Contract Terms and      (Archambault
 19                      page 427, lines 9-11          Proprietary             Decl.) ¶ 2
 20                      (ongoing agreement)           Business
                                                       Information (see
 21                                                    Joint Mot. at 5–8)
 22    Plaintiffs’ SJ    Page 35, lines 5-6            Proprietary             J.A. 830
       Opp.              (supply strategy)             Business                (Archambault
 23                                                    Information (see        Decl.) ¶ 2
 24                                                    Joint Mot. at 7–8)
       Plaintiffs’       Page 6, paragraph 30          Proprietary             J.A. 830
 25    Objection         (import strategy)             Business                (Archambault
 26    Appx.                                           Information (see        Decl.) ¶ 2
                                                       Joint Mot. at 7–8)
 27
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   1     Document       Portion Sought to Be          Basis for Sealing         Compelling
                               Sealed                                              Reason
   2
       Bernay SJ      Pages 638-639                  Proprietary             J.A. 830
   3   Opp. Ex. 94    (production planning,          Business                (Archambault
   4                  supply strategy)               Information (see        Decl.) ¶ 2
                                                     Joint Mot. at 7–8)
   5   Bernay SJ      Pages 850-851                  Proprietary             J.A. 830
   6   Opp. Ex. 125   (customer supply,              Contract Terms          (Archambault
                      pricing)                       (see Joint Mot. at      Decl.) ¶ 2
   7                                                 5–6)
   8   Plaintiffs’    Page 5, lines 23-24            Proprietary             J.A. 830
       Opp. to BP’s   (production planning,          Business                (Archambault
   9   Joinder        import strategy)               Information (see        Decl.) ¶ 2
 10                                                  Joint Mot. at 7–8)
       Nicoud BP      Page 3, paragraph 177          Proprietary             J.A. 830
 11    Opp. Ex. 1     (ongoing agreement,            Contract Terms and      (Archambault
 12                   customer supply), page         Proprietary             Decl.) ¶ 2
                      4, paragraph 179               Business
 13                   (ongoing agreement,            Information (see
 14                   production planning),          Joint Mot. at 5–8)
                      page 5, paragraph 184
 15                   (shipping costs)
 16    Nicoud BP      Entire document                Proprietary             J.A. 830
       Opp. Ex. 2                                    Contract Terms and      (Archambault
 17                                                  Proprietary             Decl.) ¶ 2
 18                                                  Business and
                                                     Financial
 19                                                  Information (see
 20                                                  Joint Mot. at 5–9)
       Defendants’    Page 23, lines 25-26           Proprietary             J.A. 830
 21    Opp. to        (customer supply,              Contract Terms and      (Archambault
 22    Liability      ongoing agreement),            Proprietary             Decl.) ¶ 2
       Daubert        page 24, footnote 12           Business
 23                   (ongoing agreement,            Information (see
 24                   customer supply)               Joint Mot. at 5–8)
       BP Reply       Page 4, line 5 (ongoing        Proprietary             J.A. 830
 25
                      agreement, production          Contract Terms and      (Archambault
 26                   planning, import               Proprietary             Decl.) ¶ 2
                      strategy)                      Business
 27
                                                     Information (see
 28                                                  Joint Mot. at 5–8)
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   1     Document        Portion Sought to Be      Basis for Sealing         Compelling
                                Sealed                                        Reason
   2
                                 Valero’s Confidential Material
   3   J.A. 689–820   Portions of Declaration    Proprietary             J.A. 731 (Brooks
   4   (Brooks Decl.) paragraphs 10 (contract Contract Terms,            Decl.) ¶ 109
                      terms and pricing          Proprietary
   5                  formulas and strategy),    Business
   6                  12 (contract terms and     Information and
                      pricing strategy), 66      Proprietary Pricing
   7                  (internal business         Information (see
   8                  operations and             Joint Mot. at 5–8)
                      proprietary business
   9                  strategy), 77 (internal
 10                   business operations and
                      proprietary business
 11                   strategy), 92-93 (internal
 12                   business operations,
                      proprietary business
 13                   strategy and contract
 14                   terms) and 95 (pricing
                      formulas) and all of
 15                   Declaration paragraph
 16                   94 (pricing formulas and
                      strategy, internal
 17                   business operations and
 18                   proprietary business
                      strategy)
 19    J.A. 776–81    Portions of interoffice    Proprietary             J.A. 731 (Brooks
 20    (VMSC          memorandum titled          Contract Terms,         Decl.) ¶ 109
       Exhibit 7)     “March 2015 Product        Proprietary
 21                   Supply & Trading           Business
 22                   Activity Report” at        Information,
                      VMSC_729427 to             Proprietary Pricing
 23                   VMSC_729431 (contract Information and
 24                   terms, internal business   Proprietary
                      operations, proprietary    Financial
 25                   business strategy, trade   Information (see
 26                   dealings, and profit, loss Joint Mot. at 5–9)
                      and margin information)
 27
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   1     Document        Portion Sought to Be        Basis for Sealing         Compelling
                                Sealed                                            Reason
   2
       J.A. 783–84    Portions of internal          Proprietary             J.A. 731 (Brooks
   3   (VMSC          email conversation with       Business                Decl.) ¶ 109
   4   Exhibit 8)     subject line “Apr 16th –      Information and
                      ‘Thursday Report’.pdf”        Proprietary
   5                  at VMSC_292096 to             Financial
   6                  VMSC_292097 (internal         Information (see
                      business operations,          Joint Mot. at 7–9)
   7                  proprietary business
   8                  strategy, and profit, loss
                      and margin information)
   9
 10    J.A. 786–87    Portion of internal email     Proprietary             J.A. 731 (Brooks
       (VMSC          conversation with             Business                Decl.) ¶ 109
 11    Exhibit 9)     subject line “Benicia         Information (see
 12                   Gasoline Length” at           Joint Mot. at 7–8)
                      VMSC_694335 (internal
 13                   business operations)
 14
       J.A. 789–94    Portions of interoffice       Proprietary             J.A. 731 (Brooks
 15    (VMSC          memorandum titled             Business                Decl.) ¶ 109
 16    Exhibit 10)    “Commercial                   Information and
                      Optimization Activity         Proprietary
 17                   Report” at                    Financial
 18                   VMSC_704516 to                Information (see
                      VMSC_704518 and               Joint Mot. at 7–9)
 19                   VMSC_704520 to
 20                   VMSC_704521
                      (internal business
 21                   operations, proprietary
 22                   business strategy, and
                      profit, loss and margin
 23                   information)
 24    J.A. 801 to    Entire Document               Proprietary             J.A. 731 (Brooks
       803 (VMSC      (proprietary business         Business                Decl.) ¶ 109
 25    Exhibit 13)    strategy and proprietary      Information (see
 26                   training materials)           Joint Mot. at 7–8)
       Bernay SJ      Entire Document               Proprietary             J.A. 731 (Brooks
 27    Opp. Ex. 14    (proprietary business         Business                Decl.) ¶ 109
 28
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   1     Document        Portion Sought to Be         Basis for Sealing          Compelling
                                Sealed                                            Reason
   2
                      strategy and proprietary       Information (see
   3                  training materials)            Joint Mot. at 7–8)
   4                  [This document was
                      marked “Confidential”
   5                  in the metadata, but
   6                  inadvertently not
                      stamped “Confidential”
   7                  on the produced image]
   8   Bernay SJ      Portions of internal           Proprietary             J.A. 731 (Brooks
       Opp. Ex. 21    email conversation with        Business                Decl.) ¶ 109
   9                  subject line “SFPM-            Information (see
 10                   Summary” at                    Joint Mot. at 7–8)
                      VMSC_273121 to
 11                   VMSC_273122
 12                   (proprietary business
                      strategy)
 13    Bernay SJ      Portions of Report             Proprietary             J.A. 731 (Brooks
 14    Opp. Ex. 86    regarding Summary of           Business                Decl.) ¶ 109
                      Benicia Gasoline               Information and
 15                   Positions at                   Proprietary
 16                   VMSC_003193 (internal          Financial
                      business operations and        Information (see
 17                   proprietary business           Joint Mot. at 7–9)
 18                   strategy)
       Bernay SJ      Portions of internal           Proprietary             J.A. 731 (Brooks
 19    Opp. Ex. 90    email conversation with        Business                Decl.) ¶ 109
 20                   subject line “Benicia          Information (see
                      Gasoline Length” at            Joint Mot. at 7–8)
 21                   VMSC_358436 to
 22                   VMSC_358437 (internal
                      business operations and
 23                   proprietary business
 24                   strategy)
 25    Bernay SJ      Portions of Exchange           Proprietary        J.A. 731 (Brooks
 26    Opp. Ex. 127   Agreement at                   Contract Terms and Decl.) ¶ 109
                      VMSC_426530                    Proprietary
 27                   (proprietary business          Business
 28                   strategy)
                                              -25-
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                               Sealed                                         Reason
   2
                                             Information (see
   3                                         Joint Mot. at 5–8)
   4   Bernay SJ     Portion of email chain  Proprietary                 J.A. 731 (Brooks
       Opp. Ex. 145  with subject line       Business                    Decl.) ¶ 109
   5                 “BP/Valero Convenience Information (see
   6                 Exchange Balances”      Joint Mot. at 7–8)
                     VMSC_140926 (internal
   7                 business operations and
   8                 proprietary business
                     strategy)
   9   Bernay SJ     Portions of internal    Proprietary                 J.A. 731 (Brooks
 10    Opp. Ex. 154  email conversation with Business                    Decl.) ¶ 109
                     subject line “LA        Information (see
 11                  Gasoline position 12/21 Joint Mot. at 7–8)
 12                  (Lifo and January 2013
                     included)”
 13                  VMSC_855603 to
 14                  VMSC_855604 (internal
                     business operations and
 15                  proprietary business
 16                  strategy)
       Bernay SJ     Portions of internal    Proprietary                 J.A. 731 (Brooks
 17    Opp. Ex. 161  email conversation with Business                    Decl.) ¶ 109
 18                  subject line “LA        Information (see
                     Gasoline position 12/21 Joint Mot. at 7–8)
 19                  (Lifo and January 2013
 20                  included)”
                     VMSC_849628 to
 21                  VMSC_849629 (internal
 22                  business operations and
                     proprietary business
 23                  strategy)
 24    Coughlin Alon Portions of Internal    Proprietary                 J.A. 731 (Brooks
       Opp. Ex. 26   Report at               Business                    Decl.) ¶ 109
 25                  VMSC_003379 (internal Information (see
 26                  business operations and Joint Mot. at 7–8)
                     proprietary business
 27                  strategy)
 28
                                           -26-
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   1     Document         Portion Sought to Be      Basis for Sealing           Compelling
                                 Sealed                                            Reason
   2
       Bernay          Page 21, second bullet     Proprietary                J.A. 731 (Brooks
   3   Liability Ex. 3 point (customer            Business                   Decl.) ¶ 109
   4   (Ordover        relationships and          Information (see
       report)         proprietary business       Joint Mot. at 7–8)
   5                   strategy); page 22, sixth
   6                   row of chart with Valero
                       data (refinery and supply
   7                   operations)
   8                              Tesoro’s Confidential Material
       T.A. 1-10 ¶¶    Declaration ¶¶ 19 (last    Proprietary Pricing        T.A. 9 ¶ 30
   9   1-30 [Eckard    three sentences) and 22    Information (see           [Eckard Decl.]
 10    Declaration]    (first and second          Joint Mot. at 6–7)
                       sentences)
 11    T.A. 310-312 Entire Document which Proprietary                        J.A. 38-40 ¶ 10-
 12    [Kiernan Decl. is an email dated May 8, Business Records              11; Counsel for
       Ex. B]          2015 re ESE Export         and Information            Chevron informed
 13                    Initiatives                (see Joint Mot. at         counsel for
 14                                               7–8)                       Tesoro on March
                                                                             31, 2021 that the
 15                                                                          project being
 16                                                                          discussed in this
                                                                             document is
 17                                                                          proprietary to
 18                                                                          Chevron.
       T.A. 361-366 Entire Document                  Proprietary             J.A. 38-40 ¶ 10-
 19    [Kiernan Decl. (excerpts from the             Business Records        11; Counsel for
 20    Ex. J]         February 20, 2020              and Information         Chevron informed
                      deposition of Stephanie        (see Joint Mot. at      counsel for
 21                   Roveda)                        7–8)                    Tesoro on March
 22                                                                          31, 2021 that the
                                                                             project being
 23                                                                          discussed in this
 24                                                                          document is
                                                                             proprietary to
 25                                                                          Chevron.
 26    Leneck Decl.    Entire Document               Proprietary Pricing     T.A. 9 ¶ 30
       Ex. B           (Tesoro’s 5th Supp.           Information (see        [Eckard Decl.]
 27
                       R&Os to Pltfs’ Rogs)          Joint Mot. at 6–7)
 28
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   1      Document          Portion Sought to Be        Basis for Sealing         Compelling
                                   Sealed                                            Reason
   2
        Bernay SJ        Entire Document               Proprietary             J.A. 8 (Yates
   3    Opp. Ex. 119     (Chevron/Tesoro               Business Records        Decl.) ¶¶ 2-3;
   4                     exchange balances)            and Information         Counsel for
                         TRMC-04202259                 (see Joint Mot. at      Chevron informed
   5                     (internal business            7–8)                    counsel for
   6                     operations and                                        Tesoro on July
                         proprietary business                                  14, 2021 that the
   7                     strategy)                                             data and
   8                                                                           information in the
                                                                               document is
   9                                                                           confidential
 10                                                                            business
                                                                               information to
 11                                                                            Chevron.
 12
 13          7.    The parties met and conferred about this motion on multiple occasions
 14    since July 2, 2021, including multiple phone calls during the week of July 12, 2021.
 15
 16          I declare under penalty of perjury that the foregoing is true and correct under the
 17    laws of the United States of America.
 18          Executed this 16th day of July, 2021, at Los Angeles, California.
 19
 20                                                       s/ Dawn Sestito
 21                                                            DAWN SESTITO
 22
 23
 24
 25
 26
 27
 28
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                                                                              SESTITO DECLARATION
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